                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


K.MIZRA LLC,

       Plaintiff,

v.                                                           Docket No.:
                                                             JURY DEMAND

BROTHER INDUSTRIES, LTD. and
BROTHER INDUSTRIES (U.S.A.), INC.,

       Defendants.


                      COMPLAINT FOR PATENT INFRINGEMENT


       Plaintiff K.Mizra LLC (“Plaintiff” or “K.Mizra”), for its Complaint with Jury Demand for

Patent Infringement against Brother Industries, Ltd. and Brother Industries (U.S.A.), Inc.

(collectively “Defendant” or “Brother”), alleging, based on its own knowledge as to itself and its

own actions and based on information and belief as to all other matters, states as follows:

                                    I.   INTRODUCTION

       A.      Sharp and Its Innovations

       1.      Sharp Corporation (“Sharp”) is a Japanese multinational company that has for more

than a century conceived, designed, manufactured and sold, first in Japan and then worldwide,

various innovative products. Indeed, the company was founded in 1912 in Tokyo and takes its

name from one of its founder’s first inventions, the Ever-Sharp mechanical pencil. Sharp currently

employs more than 50,000 people worldwide and has been inventing the future in numerous

existing and emerging product categories for decades.
       2.      For more than sixty years now, Sharp has been heavily involved in the electronics

products business, developing the first Japanese-produced televisions in 1953, and its Mobile

Communications Division created the world’s first camera phone in 2000. Sharp also was then

investing heavily in its document product and solutions division, earning high praise and

prestigious awards from various industry publications and insiders for innovations in printer,

copier, and facsimile technologies it was developing and introducing to the market. Indeed, many

of these innovations changed these product categories forever and helped to establish

multifunction printers, i.e., all-in-one copier, printing, faxing, and scanning devices (“MFPs”), as

a mainstay of the modern office. These products take many forms, with one such Sharp device

being shown below:




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       3.      Sharp’s MFPs were precision engineered to make device setup easier and faster

than previously available and to provide easy-to-use, efficient, and effective multi-level document

production and assembly functionality to the modern and typical office worker. Sharp’s integrated

product design and engineering approach to developing these state-of-the-art MFPs resulted in

providing those office workers increased workflow efficiency, exceptional image quality, and an

industry standard ease of product operation, control, management, and maintenance, helping to

take its customer’s business to the next level of productivity and performance.

       4.      Given its culture of innovation and recognizing that its industry changing concepts

often were emulated by “Johnny-come-lately” competitors, Sharp took pains to document and

protect its various MFP-focused inventions. These took the form of, among other things, filing

and prosecuting to issuance many patents covering various aspects of the technologies it had

developed and incorporated over time into its various MFP products. These patents were issued

in many countries, including the United States, Germany, and Japan. As is too often the case,

though, these protections were not self-policing in the MFP industry, with many of Sharp’s

competitors having taken its patented technologies for themselves and incorporating them into

their commercial MFP offerings, but without providing Sharp the economic credit deserved for its

many, many efforts and advancements. This case concerns just such a situation.

       B.      K.Mizra and This Action

       5.      K.Mizra is a patent licensing company run by experienced management. The

company focuses on high value, high quality patents with a global reach and owns patent portfolios

originating with a wide array of inventors, including portfolios developed by well-known

multinationals, such as IBM and ZTE, and from research institutes such as National Chiao Tung

University and Nederlandse Organisatie voor Toegepast Natuurwetenschappelijk Onderzoek




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(Netherlands Organization for Applied Scientific Research). By focusing on high-quality patents,

K.Mizra provides a secondary market for inventors to recoup their research and development

investments and to continue their innovations. K.Mizra offers licenses to its patents on reasonable

terms and in this way plays a part in the development of the technologies that make all our lives

better.

          6.     Sharp transferred its MFP-focused patents to K.Mizra, which now brings this action

to enforce these valid and subsisting United States patent rights. K.Mizra is the owner by

assignment of all rights, title, and interests in and to the patents discussed below (“the Asserted

Patents”).

                                         II.    PARTIES

          7.     Plaintiff is a limited liability company organized and existing under the laws of the

State of Delaware and maintains a business address at 777 Brickell Avenue, #500-96031, Miami,

Florida 33131.

          8.     Defendant Brother Industries, Ltd. is a corporation organized and existing under

the laws of Japan with its principal place of business located at 15-1, Naeshiro-cho, Mizuho-ku

Nagoya-shi, Aichi-ken, Japan 467-8561.

          9.     Defendant Brother Industries (U.S.A.), Inc. is a corporation organized and existing

under the laws of Delaware, with a principal place of business at 7819 North Brother Boulevard,

Bartlett, Tennessee 38133. Defendant has a registered agent at Corporation Service Company,

2908 Poston Ave., Nashville, Tennessee 37209-1312. Brother Industries (U.S.A.), Inc. is a

wholly-owned subsidiary of Brother Industries, Ltd.




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       10.     On information and belief, Brother Industries (U.S.A.), Inc. and Brother Industries,

Ltd. have acted in concert with respect to the conduct complained of herein such that the conduct

of one is attributable to the other and vice versa.

                            III.   JURISDICTION AND VENUE

       11.     This is an action for patent infringement under the patent laws of the United States,

namely, 35 U.S.C. §§ 101 et seq., 271, 281, and 284, among others. This Court has original subject

matter jurisdiction over this dispute pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       12.     Defendant is subject to this Court’s specific and general personal jurisdiction,

pursuant to due process and the Tennessee Long-Arm Statute, due at least to its business in this

forum, including at least a portion of the infringements alleged herein. Furthermore, Defendant is

subject to this Court’s specific and general personal jurisdiction because Defendant maintains a

place of business within Tennessee.

       13.      Without limitation, within this state, Defendant has used the patented inventions

thereby committing, and continuing to commit, acts of patent infringement alleged herein. In

addition, Defendant has derived revenues from its infringing acts occurring within Tennessee.

Further, Defendant is subject to the Court’s general jurisdiction, including from regularly doing or

soliciting business, engaging in other persistent courses of conduct, and deriving substantial

revenue from goods and services provided to persons or entities in Tennessee. Further, Defendant

is subject to the Court’s personal jurisdiction at least due to its sale of products and/or services

within Tennessee. Defendant has committed such purposeful acts and/or transactions in Tennessee

such that it reasonably should know and expect that it could be haled into this Court as a

consequence of such activity.




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       14.     Venue is proper in this district under 28 U.S.C. § 1400(b) because Defendant has

committed and continues to commit acts of patent infringement in this district, including using,

offering to sell, and/or selling the Accused Products in this district, including by Internet sales and

sales via retail and wholesale stores, and because Defendant has a regular and established place of

business in this district, including at 7819 North Brother Boulevard, Bartlett, Tennessee 38133.

                             IV.     FACTUAL ALLEGATIONS

       A.      The Asserted Patents

               1.      U.S. Patent 7,064,874

       15.     On June 20, 2006, the USPTO duly and legally issued U.S. Patent No. 7,064,874

(“the ʼ874 Patent”) entitled “Both-Side Document Reading Apparatus and Both-Side Document

Reading Method” to Sharp. Sharp assigned the ʼ874 Patent to K.Mizra, and that Assignment is

recorded beginning at Reel/Frame No. 054223/0499 of the USPTO Assignment database. A copy

of the ʼ874 Patent is attached hereto as Exhibit A and incorporated herein, in its entirety, by

reference.

       16.     The ʼ874 Patent discloses a both-side reading apparatus used, for example, in

scanners, copiers, printers, facsimiles, or the like, and a both-side document reading method. In

one aspect of the systems and methods disclosed in the ʼ874 Patent, an amount of the illumination

light applied to the surfaces of a document is held constant until the reading operation at both the

main and back surfaces of the document has been completed. This allows both sides of a document

to be read under constant reading conditions and prevents errors or artifacts that occur from

variable illumination or opposing light sources. Claim 18 of the ʼ874 Patent addresses these

concepts and states:




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               An image forming apparatus comprising a both-side document
               reading apparatus, the both-side document reading apparatus
               comprising:

               a first reading portion, provided with a first light source, for reading
               one side surface of a document by emitting light toward the one side
               surface of the document by the first light source; and

               a second reading portion, provided with a second light source, for
               reading another side surface of the document by emitting light
               toward the other side surface of the document by the second light
               source,

               wherein the first and second reading portions are arranged so that a
               reading region of the one side surface by the first reading portion is
               arranged on an upstream side from a reading region of the other side
               surface by the second reading portion in a document transport
               direction, and

               wherein the first light source is turned off after the document has
               passed through the reading region of the second reading portion.

       17.     Brother has made, used, sold, offered for sale, and/or imported MFPs that infringe

at least Claim 18 of the ʼ874 Patent.

       18.     For example, Brother MFP model MFC-L3770CDW is an image forming

apparatus, i.e., printer, that contains a both-side document reader capable of duplex scanning:




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       19.     The MFC-L3770CDW printer contains an automatic document feeder (“ADF”)

flatbed scanner that contains the claimed first reading portion and first light source. The scanner

lamp of the MFC-L3770CDW printer illuminates the upward-facing side of a document by

emitting light onto that document that is read by a CIS unit.




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       20.     The claimed second reading portion of the MFC-L3770CDW is housed in the

flatbed scanner. Within the flatbed scanner, a CIS unit contains a second light source, a lamp, that

emits light onto the other, downward-facing side of the document to read that surface.




       21.     The MFC-L3770CDW is designed such that sheets of paper to be duplex scanned

are placed in the ADF tray from which they are fed by rollers into the ADF. By design, during

duplex scanning, the document is transported in a single direction by the rollers—from the ADF

tray, the document page is moved through the ADF and then past the surface of the flatbed scanner

before being ejected into the ADF bin when scanning is complete. In this document page flow,

the ADF CIS unit is upstream of the flatbed scanner CIS unit.




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       22.     Both CIS units shut off simultaneously after the document has passed through the

reading region of the flatbed CIS unit, and thus the ADF CIS unit is turned off after the document

has passed through the flatbed scanner.




               2.     U.S. Patent 7,449,274

       23.     On November 11, 2008, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued U.S. Patent No. 7,449,274 (“the ʼ274 Patent”) entitled “Toner for

Electrostatic Image Development and Image Forming Method Using the Same” to Sharp. Sharp

assigned the ʼ274 Patent to K.Mizra and that Assignment is recorded beginning at Reel/Frame No.



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054223/0499 of the USPTO Assignment database. A copy of the ʼ274 Patent is attached hereto as

Exhibit C and incorporated herein, in its entirety, by reference.

       24.     The ʼ274 Patent is directed towards a composition of toner where certain

percentages of the toner particles fall within or outside of specified sizes, and the toner also

includes an additive. The ʼ274 Patent toner composition has been shown to outperform other

previously known toner compositions in a number of ways. Claim 1 of the ʼ274 Patent states:

       A toner for electrostatic image development, comprising toner particles in which
       not more than 13 percent by number of the toner particles have a particle diameter
       of smaller than 4 μm, not less than 20 percent by number of the toner particles have
       a particle diameter of 4 μm to 6 μm, not more than 2.0 percent by volume of the
       toner particles have a particle diameter of 16 μm or greater, wherein the toner
       particles have a volume average diameter of 4 μm to 9 μm and at least an external
       additive is added to the toner particles.

       25.     Brother has made, used, sold, offered for sale, and/or imported toner cartridges that

infringe at least Claim 1 of the ʼ274 Patent.

       26.     An exemplary infringing toner cartridge is the Brother TN436 toner cartridge,

shown below:




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       27.     The Brother TN436 toner cartridge contains toner for electrostatic image

development using a Brother printer or copier. An independent third-party analysis of the contents

of the Brother TN436 toner cartridge revealed toner particles in which at most 100 – 93.5 = 6.5

percent by number of the particles within the cartridge have a particle diameter smaller than 4 μm,

and at least 93.5 percent by number of the toner particles have a particle diameter of 4 μm or

greater, as shown in the below chart:




       28.     The analysis further confirmed that the Brother TN436 toner cartridge comprises

toner particles in which at least 93.5 – 31.6 = 61.9 percent by number of toner particles having a

diameter of 4 μm to 6 μm, as shown in the below chart:




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       29.     The analysis further confirmed that the Brother TN436 cartridge comprises toner

particles in which at most 0.64 percent by volume of the toner particles have a particle diameter of

15 μm or greater, as shown in the below chart:




                                                 13
       30.     The analysis further confirmed that the Brother TN436 cartridge comprises toner

particles having a volume mean (average) diameter of 6.200 μm, as the below graph confirms:




       31.     Finally, the Brother TN436 cartridge comprises toner in which an external additive

comprising SiO2 (silica) is added to the toner particles. Silica is identified as an additive in the

specification of the ʼ274 Patent.




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               3.         U.S. Patent No. 7,840,165

       32.     On November 23, 2010, the USPTO duly and legally issued U.S. Patent No.

7,840,165 (“the ʼ165 Patent”) entitled “Toner Replenishing Apparatus, Image Forming Apparatus,

and Color Image Forming Apparatus” to Sharp. Sharp assigned the ʼ165 Patent to K.Mizra and

that Assignment is recorded beginning at Reel/Frame No. 054223/0499 of the USPTO Assignment

database. A copy of the ʼ165 Patent is attached hereto as Exhibit E and incorporated herein, in its

entirety, by reference.

       33.     The ʼ165 Patent is directed to a toner replenishing apparatus that allows easy

removal of toner replenishing containers (such as toner cartridges). The claimed device includes

displacement mechanisms that allow toner replenishing containers to be displaced from secure

operative positions for removal and replacement.

       34.     Claim 1 of the ʼ165 Patent is directed to at least some of these concepts and states:

       A toner replenishing apparatus comprising:

       a toner replenishing container for accommodating toner to be replenished to a
       developing device;

       a container holding member for holding the toner replenishing container in a
       detachable manner;

       a displacement mechanism for displacing the toner replenishing container from a


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       position where the toner replenishing container is held by the container holding
       member; and

       a retaining member for retaining the toner replenishing container securely in the
       container holding member,

       wherein the displacement mechanism effects displacement of the toner replenishing
       container in conjunction with a release of the toner replenishing container from a
       retaining action of the retaining member, and

       the displacement mechanism includes a hook portion formed in the retaining
       member and an engagement portion formed in the toner replenishing container, the
       engagement portion being engaged with the hook portion under a condition that the
       toner replenishing container is released from the retaining action of the retaining
       member.

       35.     A Brother imaging unit such as the DR-730, combined with a toner cartridge such

as a TN-760, is a toner replenishing apparatus. The toner cartridge is a toner replenishing container

for accommodating toner to be replenished to a developing device, i.e. the developing equipment

in a Brother MFP.

       36.     The DR-730 comprises a container holding member for holding the toner cartridge

(the toner replenishing container). The DR-730 holds the toner cartridge in a detachable manner.

The toner cartridge can be inserted into and removed from the DR-730.




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       37.     The DR-730 has a displacement mechanism activated by the lock lever. When the

lock lever is pressed, the toner cartridge (toner replenishing container) comes out (is displaced)

from the grooves of the DR-730 (container holding member) holding the toner cartridge (toner

replenishing container).

       38.     The DR-730 comprises a retaining member for retaining the toner replenishing

container securely in the container holding member. When the lock lever is in a locked position,

the toner cartridge is securely retained within the DR-730.

       39.     The displacement mechanism associated with the lock lever effects displacement

of the toner cartridge in conjunction with a release of the toner cartridge from a retaining action of

the retaining member. When the lock lever is pressed, the toner cartridge is released (no longer

retained securely) and removed (displaced) from the DR-730.

       40.     The displacement mechanism includes a hook portion formed in the retaining


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member. This is evident at least from the protruding engagement portion on the toner cartridge,

which engages with the displacement mechanism under a condition that the toner cartridge is

released from the retaining action of the retaining member.




                4.       U.S. Patent 9,769,342

        41.     On September 19, 2017, the USPTO duly and legally issued U.S. Patent No.

9,769,342 (“the ʼ342 Patent”) entitled “Electric Apparatus” to Sharp. Sharp assigned the ʼ342

Patent to K.Mizra and that Assignment is recorded beginning at Reel/Frame No. 054223/0499 of

the USPTO Assignment database. A copy of the ʼ342 Patent is attached hereto as Exhibit G and

incorporated herein, in its entirety, by reference.

        42.     The ʼ342 Patent is directed to an electric apparatus, such as numerous of Brother’s

MFPs, that have a control panel user interface that can exist in both active and power save states.

The ʼ342 Patent discloses a device and method that “wakes” the electrical device from a power

save state if the device is in hibernation or sleep mode or initiates some user function if the device

is in its operational state.



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       43.     Claim 1 of the ʼ342 Patent is directed to at least some of these concepts and states:

       An electric equipment including a reception unit configured to receive an
       instruction relating to functions of the electric equipment by an operation of a user
       and having operation states of a power conserving state in which power required
       for performing the functions thereof is limited and a normal state in which the
       power is not limited, the electric equipment comprising:

       a signal output unit configured to output signals of different levels depending on
       the operation state when the reception unit receives the instruction from the user;
       and

       a control signal unit configured to selectively output a return signal relating to a
       return to the normal state or an execution signal relating to an execution of a
       function corresponding to the instruction received by the reception unit, based on
       the signal output from the signal output unit.

       44.     Brother has made, used, sold, offered for sale, and/or imported MFPs that infringe

at least Claim 1 of the ʼ324 Patent.

       45.     For example, the Brother MFP model MFC-L8900CDW is an electric equipment

that includes a reception unit (i.e., touch panel in the control panel) configured to receive

instructions related to the functions of the MFP. A user can use the touch panel to carry out

different printer operations (printing, scanning, etc.).




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       46.    The MFC-L8900CDW has at least two different operation states. One is a power

conserving state (i.e., Sleep Mode or Deep Sleep Mode) and the second is the normal state (i.e.,

the normal or “ready” mode). The Sleep Mode and Deep Sleep Mode limit the power

supply/consumption for the MFP.




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        47.     The MFC-L8900CDW touchscreen is connected to a signal output unit that outputs

different levels of signals depending on the power state the unit is in. If the unit is not in sleep

mode, the touch screen will output signals that select menu options. If the unit is in sleep mode,

the touch screen will output a signal that wakes the unit up from sleep mode.

        48.     If the equipment is in an energy saving mode (sleep) the signal output unit will send

a certain signal, and if the equipment is in ready mode, it will send a different signal. If the signal

output unit sends a signal while in an energy saving mode, the control signal unit will cause the

equipment to power up, or “wake up.” If the signal output unit sends a signal while powered up,

the control unit will cause the unit to execute a function corresponding to the instruction received

by the reception unit, such as selecting menu options.

                                   FIRST CLAIM FOR RELIEF
                    (Count I – Patent Infringement of U.S. Patent No. 7,064,874)

        49.     Plaintiff repeats and re-alleges the allegations above in Paragraphs 1 – 31 as if fully

set forth herein.

        50.     The ʼ874 Patent includes 18 claims. Brother directly infringes, either literally or

under the doctrine of equivalents, at least Claim 18 of the ʼ874 Patent by making, using, selling,

offering for sale, and/or importing infringing MFPs that meet all limitations of at least Claim 18

of the ʼ874 Patent, including but not limited to the MFC-L3770CDW MFP as shown in the ʼ874

Patent Preliminary Claim Chart, attached as Exhibit B and incorporated herein by reference.

        51.     Brother is thus liable for direct infringement of the ʼ874 Patent pursuant to 35

U.S.C. § 271(a).

        52.     At least as of the filing of this Complaint, Brother has knowledge of the ʼ874 Patent

and of Brother’s infringement thereof.




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        53.     At least as of the filing of this Complaint, Brother’s infringement of the ʼ874 Patent

is willful.

        54.     Brother’s acts of infringement occurred within this District and elsewhere

throughout the United States.

        55.     Brother is liable to Plaintiff in an amount that adequately compensates it for

Brother’s infringement in an amount that is not less than a reasonable royalty, together with interest

and costs as fixed by this Court under 35 U.S.C. § 284.

        56.     Plaintiff has been damaged and will suffer additional damages and irreparable harm

unless Brother is enjoined from further infringement under 35 U.S.C. § 283.

                           V.    SECOND CLAIM FOR RELIEF
                 (Count II – Patent Infringement of U.S. Patent No. 7,499,274)

        57.     Plaintiff repeats and re-alleges the allegations above in Paragraphs 1 – 14 and 23 –

31 as if fully set forth herein.

        58.     The ʼ274 Patent includes 7 claims. Brother directly infringes, either literally or

under the doctrine of equivalents, at least Claim 1 of the ʼ274 Patent by making, using, selling,

offering for sale, and/or importing infringing toner cartridges that meet all limitations of at least

Claim 1 of the ʼ274 Patent, including but not limited to the TN436 toner cartridge as shown in the

ʼ274 Patent Preliminary Claim Chart, attached as Exhibit D and incorporated herein by reference.

        59.     Brother is thus liable for direct infringement of the ʼ274 Patent pursuant to 35

U.S.C. § 271(a).

        60.     At least as of the filing of this Complaint, Brother has knowledge of the ʼ274 Patent

and of Brother’s infringement thereof.

        61.     At least as of the filing of this Complaint, Brother’s infringement of the ʼ274 Patent

is willful.



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        62.     Brother’s acts of infringement occurred within this District and elsewhere

throughout the United States.

        63.     Brother is liable to Plaintiff in an amount that adequately compensates it for

Brother’s infringement in an amount that is not less than a reasonable royalty, together with interest

and costs as fixed by this Court under 35 U.S.C. § 284.

        64.     Plaintiff has been damaged and will suffer additional damages and irreparable harm

unless Brother is enjoined from further infringement under 35 U.S.C. § 283.

                           VI. THIRD CLAIM FOR RELIEF
                 (Count III – Patent Infringement of U.S. Patent No. 7,840,165)

        65.     Plaintiff repeats and re-alleges the allegations above in Paragraphs 1 – 14 and 32 –

40 as if fully set forth herein.

        66.     The ʼ165 Patent includes 9 claims. Brother has been and is directly infringing,

either literally or under the doctrine of equivalents, at least Claim 1 of the ʼ165 Patent by making,

using, selling, offering for sale, and/or importing infringing imaging units, including but not

limited to the DR-730 in conjunction with compatible toner cartridges as shown in the ʼ165 Patent

Preliminary Claim Chart, attached as Exhibit F and incorporated herein by reference.

        67.     Brother is thus liable for direct infringement of the ʼ165 Patent pursuant to 35

U.S.C. § 271(a).

        68.     At least as of the filing of this Complaint, Brother has knowledge of the ʼ165 Patent

and of Brother’s infringement thereof.

        69.     At least as of the filing of this Complaint, Brother’s infringement of the ʼ165 Patent

is willful.

        70.     Brother’s acts of infringement have occurred within this District and elsewhere

throughout the United States.



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        71.     Brother is liable to Plaintiff in an amount that adequately compensates it for

Brother’s infringement in an amount that is not less than a reasonable royalty, together with interest

and costs as fixed by this Court under 35 U.S.C. § 284.

        72.     Plaintiff has been damaged and will suffer additional damages and irreparable harm

unless Brother is enjoined from further infringement under 35 U.S.C. § 283.

                        VII.   FOURTH CLAIM FOR RELIEF
                 Count IV – Patent Infringement of U.S. Patent No. 9,769,342)

        73.     Plaintiff repeats and re-alleges the allegations above in Paragraphs 1 – 14 and 41 –

48 as if fully set forth herein.

        74.     The ʼ342 Patent includes 3 claims. Brother has been and is directly infringing,

either literally or under the doctrine of equivalents, at least Claim 1 of the ʼ342 Patent by making,

using, selling, offering for sale, and/or importing infringing MFPs, including but not limited to the

MFC-L8900CDWas shown in the ʼ342 Patent Preliminary Claim Chart, attached as Exhibit H

and incorporated herein by reference.

        75.     Brother is thus liable for direct infringement of the ʼ342 Patent pursuant to

35 U.S.C. § 271(a).

        76.     At least as of the filing of this Complaint, Brother has knowledge of the ʼ342 Patent

and of Brother’s infringement thereof.

        77.     At least as of the filing of this Complaint, Brother’s infringement of the ʼ342 Patent

is willful.

        78.     Brother’s acts of infringement have occurred within this District and elsewhere

throughout the United States.




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           79.    Brother is liable to Plaintiff in an amount that adequately compensates it for

Brother’s infringement in an amount that is not less than a reasonable royalty, together with interest

and costs as fixed by this Court under 35 U.S.C. § 284.

           80.    Plaintiff has been damaged and will suffer additional damages and irreparable harm

unless Brother is enjoined from further infringement under 35 U.S.C. § 283.

                               VIII.     PRAYER FOR RELIEF

           K.Mizra requests that the Court find in its favor and against Brother, and that the Court

grant K.Mizra the following relief:

           A.     Judgment that one or more claims of the Asserted Patents have been infringed,

either literally and/or under the doctrine of equivalents, by Brother;

           B.     Ordering that Brother, its officers, directors, agents, servants, employees, privies,

representatives, attorneys, parent and subsidiary corporations or other related entities, successors,

assigns, licensees, retail distributors, and all persons in active concert or participation with any of

them, be preliminary and permanently enjoined from further acts of infringement of the unexpired

Asserted Patents;

           C.     Awarding damages in an amount to be proven at trial, but in no event less than a

reasonable royalty, for Brother’s infringement;

           D.     Judgment that Brother account for and pay to K.Mizra all damages, including a

reasonable royalty, and costs incurred by K.Mizra because of Brother’s infringing activities and

other conduct complained of herein, including an award of all increased damages to which K.Mizra

is entitled under 35 U.S.C. § 284, including treble damages for any infringement found to be

willful;




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       E.        Declaring this an exceptional case and awarding K.Mizra its attorneys’ fees and

costs in accordance with 35 U.S.C. § 285;

       F.        Pre-judgment and post-judgment interest on the damages caused to K.Mizra by

reason of Brother’s infringing activities and other conduct complained of herein; and

       G.        Such other and further relief as the Court may deem just and proper under the

circumstances.

                            IX.    DEMAND FOR JURY TRIAL

       K.Mizra requests a trial by jury pursuant to Fed. R. Civ. P. 38.


Dated: July 17, 2023                         Respectfully submitted,

                                             s/Richard M. Carter
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                                             Attorneys for Plaintiff K.Mizra LLC




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